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                              UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

  IN RE: KATRINA CANAL BREACHES                                   *       CIVIL ACTION
  CONSOLIDATED LITIGATION
  ___________________________________________                     *       NUMBER: 05-4182

  LEVEE CASES                                                     *       SECTION: “K” (2)
  PERTAINS TO:        06-4931
  (Emma Brock, et al)                                             *       JUDGE DUVAL

                                                  *     MAG. WILKINSON
  ______________________________________________________________________________
                          MOTION FOR LEAVE TO FILE
             SECOND SUPPLEMENTAL AND AMENDING COMPLAINT

         NOW INTO COURT, through undersigned counsel, come petitioners in the above captioned

  matter, who respectfully pray for leave to file their First Supplemental and Amending Complaint

  against the defendants, and respectfully represent:

                                                 1.

         Pursuant to Rule 15 of the Federal Rules of Civil Procedure, the petitioners wish to

  supplement and amend the original complaint as outlined in the attached Second Supplemental and

  Amending Complaint.

                                                 2.

         Petitioners show that leave of court is required for this pleading, but that leave shall be freely

  given when justice so requires.

                                                 3.

         Petitioners further show that the claims asserted in the amending pleading arose out of the

  conduct, transaction and occurrence set forth in the original pleading.

         WHEREFORE, the petitioners pray that this Court grant leave for the filing of their Second
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  Supplemental and Amending Complaint and that same be filed in accordance with law.

                                                        Respectfully submitted,




                                                      /s/Robert J. Caluda
                                                      Robert J. Caluda
                                                      La. Bar No. 3804
                                                      Attorney for Plaintiffs
                                                      The Caluda Law Firm
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on 8/29/07, I electronically filed the foregoing with the Clerk of Court
  by using the CM/ECF system which will send notice of electronic filing upon all counsel of record
  by ECF.

                         /s/Robert J. Caluda
                             Robert J. Caluda
